838 F.2d 571
    267 U.S.App.D.C. 273
    Transcontinental Gas Pipe Line Corporationv.Federal Energy Regulatory Commission, CF Industries, Inc.,Interstate Natural Gas Association of America, PublicService Electric and Gas Co., United Gas Pipeline Co.,Public Service Co. of North Carolina, Inc., North CarolinaUtilities Commission, Pennsylvania Gas and Water Company
    NO. 86-1358
    United States Court of Appeals,District of Columbia Circuit.
    FEB 16, 1988
    
      1
      Appeal From:  F.E.R.C.
    
    
      2
      AFFIRMED *.
    
    